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4
5    Attorney for Defendant
     ROBERT ROBINSON
6
7
8                           IN THE UNITED STATES DISTRICT COURT
9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       ) CR. NO. S-05-034-LKK
                                     )
13                  Plaintiff,       ) STIPULATION; ORDER
                                     )
14        v.                         )
                                     )
15   ROBERT ROBINSON,                ) Hon. Lawrence K. Karlton
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
          Defendant, Robert Robinson, through Christopher Haydn-Myer,
19
     Attorney At Law, and the United States of America, through Assistant
20
     U.S. Attorney Anne Pings, agree as follows:
21
          It is agreed that the Judgment and Sentencing date of February 28,
22
     2006 be vacated and a new Judgment and Sentencing date of April 4, 2006
23
     be set.
24
          Mr. Robinson pled guilty before the Court on December 16, 2005.
25
     The continuance is being requested for two reasons.            First, counsel is
26
     attempting to have Mr. Robinson interviewed a second time by the United
27
     States Probation Department.        Second, counsel is gathering information
28
            Case 2:05-cr-00034-KJM Document 93 Filed 01/27/06 Page 2 of 2


1    regarding Mr. Robinson’s parole file and records from the California
2    Department of Corrections.     Counsel believes that the records will be
3    relevant for sentencing.
4         For all of these reasons, the parties jointly request a new
5    Judgment and Sentencing date on April 4, 2006.
6
7    Dated: January 24, 2006
8                                           Respectfully submitted,
9                                           /s/ Christopher Haydn-Myer
                                            ________________________________
10                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
11                                          Robert Robinson
12
     DATED: January 24, 2006                /S/ Christopher Haydn-Myer for
13                                          Anne Pings
                                            Assistant U.S. Attorney
14
15                                 ORDER
16   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the Judgment and Sentencing
17   date of February 28, 2006 be vacated and a new Judgment and Sentencing
18   date of April 4, 2006 be set.
19
20   DATED: January 26, 2006
21                                          /s/ Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
22                                          United States District Court Judge
23
24
25
26
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28                                           2
